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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*************************
MARISOL LEDESMA TIRADOR,              *
as the Parent and Natural Guardian of *
PAOLA MELISSA CARBO LEDESMA, * No. 12-192V
an Infant,                            * Special Master Christian J. Moran
                                      *
                   Petitioner,        *
                                      * Filed: June 16, 2014
v.                                    *
                                      *
SECRETARY OF HEALTH                   *
AND HUMAN SERVICES,                   *
                                      *
                   Respondent.        *
*************************

Mark T. Sadaka, Sadaka & Associates, Englewood, NJ, for Petitioner;
Jennifer Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS 1

       Petitioner, Marisol Ledesma Tirador, filed a motion for final attorneys’ fees
and costs in the above-captioned matter on May 29, 2014. Petitioner later filed a
stipulation for fees on June 13, 2014. The Court awards the requested amount.

      Petitioner alleged that the varicella and hepatitis A vaccines, which are
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which her child, Paola, received on March 10, 2010, caused Paola to suffer chronic
idiopathic thrombocytopenic purpura (“ITP”). Decision, filed October 29, 2013.


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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Because petitioner received compensation, she is entitled to an award of attorneys’
fees and costs. 42 U.S.C. § 300aa-15(e).

       Petitioner seeks a total of $18,552.25 in attorneys’ fees and costs for her
counsel. Additionally, in compliance with General Order No. 9, petitioner states
that she incurred $3,100.00 out-of-pocket litigation expenses while pursuing this
claim.

       After reviewing the request, the court awards the following:

       1. A lump sum of $15,452.25 in the form of a check payable to petitioner’s
          attorney, Mark T. Sadaka, and petitioner, Marisol Ledesma Tirador, for
          attorney’s fees and costs available under 42 U.S.C. § 300aa-15(e).

       2. A lump sum of $3,100.00 in the form of a check payable to petitioner,
          Marisol Ledesma Tirador.

      The Court thanks the parties for their cooperative efforts in resolving this
matter.

       The Clerk shall enter judgment accordingly. 2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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